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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IN RE ETHIOPIAN AIRLINES FLIGHT
ET 302 CRASH                                      Lead Case No.: 19-cv-02170

                                                  SHORT FORM COMPLAINT AND
HANS JOACHIM FEIGL and SIEGLINDE                  NOTICE OF ADOPTION OF MASTER
RINK-FEIGL, Individually, and as Special          COMPLAINT
Co-Administrators and Co-Representatives of
the Estate of ANNE-KATRIN PIA FEIGL,
deceased, and on behalf of all Surviving
Beneficiaries,

       Plaintiffs,                                DEMAND FOR JURY TRIAL

       v.

THE BOEING COMPANY, a Delaware
corporation;
ROSEMOUNT AREOSPACE, INC., a
Delaware corporation;
ROCKWELL COLLINS, INC., a Delaware
corporation,

       Defendants.




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         PLAINTIFFS, HANS JOACHIM FEIGL and SIEGLINDE RINK-FEIGL, Individually,

and as Special Co-Administrators and Co-Representatives of the Estate of ANNE-KATRIN

PIA FEIGL, deceased, COMPLAIN OF THE DEFENDANTS AND EACH OF THEM AS

FOLLOWS:

1.       Plaintiffs refer to and incorporate herein by reference the Master Complaint, and any

and all later amendments thereto, filed in IN RE ETHIOPIAN AIRLINES FLIGHT ET 302

CRASH, as though fully set forth herein. Plaintiffs hereby adopt the Master Complaint and

agree to be bound by any rulings with respect to the pleadings of the Master Complaint.
2.       Plaintiffs adopt each of the general allegations of the Master Complaint except for those
paragraph numbers set forth here, if any: N/A

                              CLAIMS AGAINST DEFENDANTS

3.       Plaintiffs bring those Counts, as applicable, against each of the Defendants in the

Master Complaint checked below:

☒        THE BOEING COMPANY

☒        ROSEMOUNT AEROSPACE, INC.

☒        ROCKWELL COLLINS, INC.

4.       Plaintiffs incorporate by reference each of the Counts in the Master Complaint checked

below:

As against THE BOEING COMPANY:

☒        Count One for Negligence

☒        Count Two for Breach of Warranty

☒        Count Three for Strict Liability

☒        Count Four for Failure to Warn

As against ROSEMOUNT AEROSPACE, INC.:

☒        Count Five for Negligence

☒        Count Six for Strict Liability

☒        Count Seven for Breach of Warranty


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As against ROCKWELL COLLINS, INC.:

☒     Count Eight for Negligence

☒     Count Nine for Strict Liability

☒     Count Ten for Breach of Warranty

                             PLAINTIFFS INFORMATION:

4.    Decedent, ANNE-KATRIN PIA FEIGL, was an individual who was killed in the crash

      of Ethiopian Airlines Flight ET 302 on March 10, 2019.

5.    The following Plaintiffs are heirs, beneficiaries, and/or next of kin of Decedent, or

      other persons entitled to bring an action for the wrongful death of Decedent, and bring

      the causes of action alleged herein:

      HANS JOACHIM FEIGL father of decedent and Special Co-Administrator and Co-

      Representative of the estate of the decedent;

      SIEGLINDE RINK-FEIGL, mother of the decedent and Special Co-Administrator and

      Co-Representative of the estate of the decedent; and

      LARS-PETER FEIGL, brother of the decedent.

6.    Plaintiffs are residents of Germany. Plaintiffs’ decedent was a German National on

      assignment in Sudan for the United Nations.

7.    Decedent’s Estate is represented in the following capacity:

☒     HANS JOACHIM FEIGL and SIEGLINDE RINK-FEIGL are the Special Co-

      Administrators and Co-Representatives of the Estate of Decedent and are authorized to

      bring an action on behalf of the Decedent. Plaintiffs have been appointed as Special

      Co-Administrators and Co-Representatives, on May 13, 2020.

☐     Other (please describe):

      ________________________________________________________________.



                                 PLAINTIFFS’ DAMAGES:

8.    Plaintiffs request the relief checked below:
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        All past and future general and compensatory damages in an amount according to proof

at trial, including the following:

☒       For Decedent’s conscious and physical pain and suffering, fright and terror, fear of

        impending and imminent death, mental anguish, and emotional distress, in an amount

        according to proof at trial.

☒       For past and future loss of support and services in money or in kind, in an amount

        according to proof at trial.

☒       For past and future loss of consortium, love, companionship, comfort, care, assistance,

        protection, affection, society, moral support, training, advice, tutelage, and guidance, in

        an amount according to proof at trial.

☒       For past and future grief, emotional distress, and sorrow, in an amount according to

        proof at trial.

☒       For funeral expenses, burial expenses, estate administration expenses, and other related

        expenses in an amount according to proof at trial.

☒       For expenses for the identification and/or transportation of Decedent’s remains,

        according to proof at trial.

☒       For all property losses, in an amount according to proof at trial.

☒       For attorneys’ fees, costs and other damages as permitted under applicable laws.

☒       For punitive and exemplary damages in an amount according to proof at trial;

☒       For pre- and post-judgment interest on all damages as allowed by the law.

☒       For all costs of suit incurred herein.

☒       For such other and further relief as the Court shall deem just and proper.
☐       Other (specify):
        ____________________________________________________________________________

        ____________________________________________________________________________




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                          ADDITIONAL ALLEGATIONS, IF ANY

9.     Decedent, ANNE-KATRIN FEIGL, is survived by her parents, HANS JOACHIM

FEIGL and SIEGLINDE RINK-FEIGL, and her brother LARS-PETER FEIGL. At the time of

her death, Anne-Katrin was only 29 years old. Since 2017, Anne-Katrin Feigl was a Junior

Professional Officer at the United Nations International Organization for Migration (“IOM”).

She was a member of the Migration Management and Development Unit, with the formal job

title of Counter Trafficking and Research Specialist. In reality, Anne-Katrin’s responsibilities

and work were much broader than her title, including expanding Migrant Protection Activities

(“MPA”) for vulnerable migrants outside Khartoum, Sudan, where she was temporarily

responsible for overseeing all the MPA work of IOM in Sudan until the arrival of a senior staff

member. Anne-Katrin oversaw the work of a large team to help open IOM’s first Migrant

Resource Centre near Khartoum, the success of which was due, in part, to her diligence and the

support she gave to her team. At the time of her death aboard Ethiopian Airlines Flight 302,

Anne-Katrin was en route to Nairobi for a training course so she could continue to grow in her

work with the UN.

       Anne-Katrin’s family, Hans Joachim, Sieglinde and Lars-Peter, remember her as a

passionate, ambitious, and hardworking and especially warmed hearted woman, who dedicated

herself to her job and her dream of helping children and women in Africa. Her brother and

parents were deeply proud of Anne-Katrin and everything she had achieved. They were

devastated to think that her young life of good work was cut so tragically short. Hans Joachim,

Sieglinde, and Lars-Peter simply could not believe that their daughter and younger sister will

not be coming back to them.

       Hans Joachim and Sieglinde have suffered a terrible loss, compounded by the

circumstances of the crash and how easily the defendants could have prevented it from

occurring. Anne-Katrin’s death and the manner in which she died have caused her family

severe grief and mental harm, in addition to the loss of companionship, services and support

from their daughter.

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       The manner in which Anne-Katrin died is particularly distressing due to the terrifying

nature of her final moments. Shortly after take-off, the aircraft began making noticeably

unusual, alarming and uncomfortable movements in response to the erroneous AOA sensor and

MCAS activations. During the last several minutes before ET-302 crashed, Anne-Katrin

experienced violent oscillations of the aircraft, which resulted in her fear of impending death, as

well as physical and mental pre-death pain and suffering. Ultimately, Anne-Katrin was exposed

to extreme forces as the aircraft dove down towards the ground at speeds approaching 600 miles

per hour during which time Anne-Katrin surely knew she was about to die.




                                 DEMAND FOR JURY TRIAL

PLAINTIFFS hereby demand a trial by jury as to all claims in this action.


DATED: Chicago, Illinois
       June 9, 2020




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